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                    THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                                       )
ELISA RODRIGUEZ,                       )
                                       )
                                       )
      Plaintiff,                       )
                                       )        FILE NO. ________________
v.                                     )
                                       )
SIKA CORPORATION,                      )
GREENWICH INSURANCE                    )
COMPANY, and MICHAEL                   )
STEVEN REEVES,                         )
                                       )
       Defendants.                     )

                   NOTICE OF REMOVAL OF DEFENDANTS

      Defendants Sika Corporation, Greenwich Insurance Company, and Michael

Steven Reeves, respectfully and timely file this Notice of Removal to the United

States District Court for the Northern District of Georgia, Atlanta Division, showing

the Court as follows:

                                           1.

      On May 25, 2023, Plaintiff filed a personal injury lawsuit against the above-

named Defendants in the State Court of Gwinnett County, Georgia, which is within

the Northern District of this Court. 28 U.S.C. § 90(a)(2).




                                           1
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                                         2.

      On August 24, 2023, Defendants Sika and Greenwich were served with the

Complaint and associated summons via personal service of process on their

respective Georgia registered agents. On September 1, 2023, Defendant Mr. Reeves

was personally served. A true and correct copy of Plaintiff’s original Complaint

with the associated summons is Exhibit 1 to this Notice.

                                         3.

      On September 22, 2023, Defendants filed their Answer and Defenses to

Plaintiff’s Complaint in the State Court of Gwinnett County, Georgia. A true and

correct copy of Defendants’ Answer and Defenses to Plaintiff’s Complaint is

Exhibit 2 to this Notice.

                                         4.

      Defendant Sika is a foreign corporation formed under the laws of the State of

New Jersey, with its principal place of business in the State of New Jersey.1

Defendant Greenwich is a Delaware corporation with its principal place of business

in Connecticut.2 Defendant Mr. Reeves is a resident of the State of Florida.3




1     See Ex. 1, ¶ 2; Ex. 2, ¶ 2.
2     Ex. 1, ¶ 3; Ex. 2, ¶ 3.
3     Ex. 1, ¶ 4; Ex. 2, ¶ 4.
                                         2
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Consequently, Sika is therefore a New Jersey citizen, Greenwich is a citizen of both

Delaware and Connecticut, and Mr. Reeves is a Florida citizen.4

                                          5.

      Plaintiff is a resident and citizen of the State of Georgia.5

                                          6.

      Accordingly, diversity of citizenship exists between the parties as

contemplated by 28 U.S.C. § 1332(a)(1).

                                          7.

      Plaintiff contends that, on December 9, 2021, she “suffered severe and

permanent injuries requiring extensive medical treatment, including neck injury” as

a result of the underlying motor-vehicle accident.6 Plaintiff’s Complaint does not

assign any specific value to her special damages.7

                                          8.

      Where, as here, a plaintiff’s complaint makes an unspecified demand for

damages, the rule in the Eleventh Circuit is that “a removing defendant must prove

by a preponderance of the evidence that the amount in controversy more likely than




4     28 U.S.C.A. § 1332(c)(1).
5     Ex. 1, ¶ 1.
6     Ex. 1, ¶ 11.
7     See Ex. 1.
                                           3
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not exceeds the jurisdictional requirement.”8 In some cases, meeting the

preponderance of the evidence burden requires the removing defendant to provide

additional evidence demonstrating that removal is proper, particularly where the

amount in controversy is not facially apparent from the pleadings.9

                                         10.

      Federal courts have routinely held that pre-suit settlement offers and demands

may be considered in evaluating whether the jurisdictional amount required for

removal is satisfied.10 On May 10, 2022, Plaintiff made a pre-suit demand for One

Million Dollars ($1,000,000.00) to settle this case.11

                                         11.

      Accordingly, the amount in controversy in this action exceeds $75,000.00.

                                         12.

      Because there is complete diversity of citizenship between the parties to this

action and Defendants have demonstrated by a preponderance of the evidence that

the amount in controversy exceeds $75,000.00, this action is removable pursuant to

28 U.S.C. §§ 1332 and 1441.

                                         13.

8     Marshall v. Georgia CVS Pharmacy, L.L.C., 580 F. Supp. 3d 1301, 1307
(N.D. Ga. 2022).
9     Id.
10    See, e.g., La Rocca v. Stahlheber, 676 F. Supp. 2d 1347 (S.D. Fla 2009).
11    A true and correct copy of Plaintiff’s pre-suit demand of May 10, 2022, is
attached as Exhibit 3.
                                          4
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      In accordance with 28 U.S.C. § 1446(a), Defendants attach as Exhibit 4 to

this Notice copies of all process, pleadings, and orders served on Defendants in the

state court action to date - civil action file number 23-C-03597-S4 in the State Court

of Gwinnett County, Georgia - which have not previously been included as exhibits.

                                         14.

      Defendants will promptly provide written notice of the filing of this Notice of

Removal to Plaintiff in compliance with 28 U.S.C. § 1446(d).

                                         15.

      Also pursuant to 28 U.S.C. § 1446(d), Defendants will promptly file with the

Clerk of the State Court of Gwinnett County and serve on Plaintiff a Notice of Filing

of Notice of Removal.12



      WHEREFORE, Defendants respectfully request that this civil action be

removed to the United States District Court for the Northern District of Georgia,

Atlanta Division.




12    A copy of the Notice of Filing of Notice of Removal to be filed in the State
Court of Cobb County is attached hereto as Exhibit 5.

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          Respectfully submitted, this 25th day of September, 2023.

                                          DREW ECKL & FARNHAM, LLP


                                          /s/ Andrew D. Horowitz
                                          Andrew D. Horowitz
                                          Georgia Bar No. 367815
                                          Jordan E. Wilkinson
                                          Georgia Bar No. 604097
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                             CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and foregoing

Notice of Removal upon all parties to this action via electronic service on their

counsel of record and by electronically filing it with the Clerk of Court using the

Court’s electronic CM/ECF System as follows:

                              Parker M. Green, Esq.
                              Green Law, LLC
                              178 S. Main Street, Suite 300
                              Alpharetta, Georgia 30009
                              parker@greenlaw-atl.com

         This 25th day of September, 2023.

                                          DREW, ECKL & FARNHAM, LLP

                                          /s/ Andrew D. Horowitz
                                          Andrew D. Horowitz
                                          Georgia Bar No. 367815
                                          Attorneys for Defendants

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